52 F.3d 1122
    311 U.S.App.D.C. 277, 17 O.S.H. Cas. (BNA) 1276
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.BETA CONSTRUCTION COMPANY, Petitioner,v.OCCUPATIONAL SAFETY AND HEALTH REVIEW COMMISSION, Respondent.
    No. 93-1817.
    United States Court of Appeals, District of Columbia Circuit.
    April 12, 1995.
    
      Before:  EDWARDS, Chief Judge, WALD, and GINSBURG, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This cause came to be heard on petition for review of an order of the Occupational Safety and Health Review Commission ("Commission"), and was briefed and argued by counsel.  The issues have been accorded full consideration by the Court and occasion no need for a published opinion.  See D.C.Cir.Rule 36(b).  For the reasons stated in the order of the Commission, it is
    
    
      2
      ORDERED and ADJUDGED that the petition for review is denied.
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.  See D.C.Cir.Rule 41.
    
    